                        UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF NORTH CAROLINA

                                  CASE NO: 1:21-cv-539

 RAYMOND NARDO, individually and on                       CLASS ACTION
 behalf of all others similarly situated,
                                                       JURY TRIAL DEMANDED
       Plaintiff,

 vs.

 PHE, INC. d/b/a ADAM AND EVE,

   Defendant.
 ______________________________________/

                            STIPULATION OF DISMISSAL

          Plaintiff Raymond Nardo and Defendant PHE, Inc., pursuant to Federal Rule

of Civil Procedure 41(a)(1)(A)(ii), hereby stipulate to the dismissal of this matter, with

each party to bear their own costs and attorneys’ fees.

          Plaintiff’s claims are dismissed with prejudice, and the claims of the unnamed

putative class members are dismissed without prejudice.




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Dated: September 21, 2021

Respectfully Submitted,


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